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               IN THE UNITED STATES DISTRICT COURT FOR
                       THE SOUTHERN DISTRICT OF GEORGIA
                                   SAVANNAH DIVISION


UNITED STATES OF AMERICA,


V.                                                Case No.       CR417-208-11


CARLOS ELDER,
                       Defendant.




       Elizabeth F. Pavlis, counsel of record for defendant Carlos

Elder in the above-styled case has moved for leave of absence.                The

Court is mindful that personal and professional obligations require

the   absence     of    counsel on occasion.    The    Court,   however,   cannot


accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

       Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and               trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.


                          Hi
       SO ORDERED this ^3^" day of August 2017.


         U. S. DISTRICT COURT            WILLIAM T. MOORgiZ JR.
         Southern District o             UNITED STATES DISTRICT COURT
             Filed In Office
                               M         SOUTHERN DISTRICT OF GEORGIA
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